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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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In Re Request of Susan Devine for Judicial                :                22-MC-133 (VSB)
Assistance pursuant to 28 U.S.C. § 1782 for :
the Liechtenstein Princely Court.                         :                     ORDER
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VERNON S. BRODERICK, United States District Judge:

        This is a request for judicial assistance pursuant to 28 U.S.C. § 1782. Before me are (1)

Petitioner Susan Devine’s (“Devine”) motion for judicial assistance, (Doc. 1); (2) Devine’s

motion to expedite consideration of her motion, (Doc. 8); (3) Respondent Spears & Imes LLP’s

(“Spears & Imes”) letter motion for a continuance until such time as current counsel for the

Absolute Activist Value Master Fund Limited and multiple affiliates (“the Funds”) seeks leave

for the Funds to intervene in this proceeding, (Doc. 9); and (4) Devine’s request that I “enter[] a

temporary stay and/or order[] Spears & Imes LLP to preserve the documents at issue pending the

outcome of these proceedings,” (Doc. 10). I will issue a detailed written opinion shortly. In the

meantime, it is hereby

        ORDERED that Spears & Imes preserve the documents at issue pending the outcome of

these proceedings. This order should not be viewed as any indication concerning what the

ultimate decision will be.

SO ORDERED.

Dated: May 16, 2022
       New York, New York

                                                              ______________________
                                                              Vernon S. Broderick
                                                              United States District Judge
